     Case 4:16-cv-01414 Document 521 Filed in TXSD on 10/26/18 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Maranda Lynn ODonnell

v.                                           Case Number: 4:16−cv−01414

Harris County, Texas, et al.




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Lee H Rosenthal
PLACE:       Courtroom 11B
             United States District Court
             515 Rusk Avenue
             Houston, Texas 77002
DATE: 10/30/2018

TIME: 03:00 PM
TYPE OF PROCEEDING: Discovery Hearing


Date: October 26, 2018
                                                        David J. Bradley, Clerk
